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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        CASE: 1:21-cv-23000
  CARLOS BRITO,

           Plaintiff,
  v.

  GENUINE PARTS COMPANY,

          Defendant.
  ______________________________________/


                               JOINT NOTICE OF SETTLEMENT

  Plaintiff, CARLOS BRITO, and Defendant, GENUINE PARTS COMPANY, hereby advise the

  Court that the parties have reached an agreement in principle to settle the instant case pending

  execution of a Settlement Agreement. The parties will file a Stipulation dismissing this Action

  with prejudice once the settlement agreement is executed, which they reasonably expect to do no

  later than fourteen (14) days from the date of this Notice. Accordingly, the Parties, respectfully

  request that the Court vacate all currently set dates and deadlines in the case.

  Respectfully submitted this 24th day of September, 2021.


   /s/ Anthony J. Perez                           /s/ Stewart Dorian Williams
   ANTHONY J. PEREZ                               Stewart Dorian Williams
   Florida Bar No.: 535451                        Florida Bar No.: 352705

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                                                  Attorney for Defendant Genuine Parts Company



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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

  by using the CM/ECF system. I further certify a copy of the foregoing was sent by CM/ECF to

  all counsel of record on this 24th day of September, 2021.

                                                      Respectfully submitted,

                                                      GARCIA-MENOCAL & PEREZ, P.L.
                                                      Attorneys for Plaintiff
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                                                      By: /s/ Anthony J. Perez____
                                                          ANTHONY J. PEREZ




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